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F|LED BY . D.C.

IN THE UNITED sTATEs DISTRICT coURT -
FoR THE wEsTERN DISTRICT oF TENNESSEEUS JUL ll PH 3= 113

EASTER.N DIVISION
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DEMUS RICH and wife.r MELBA
RICH, individually and as
Executors of the Estate of GARY
BRIAN RICH, deceased,
Plaintiffs,

No. 1:02~1222 T[P

VB.

CITY OF SAVANNAI-I, TENNESSEE, et
al.,

Defendants.

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ORDER AWARDING ATTORNEY FEES AND EXPENSES TO PLAINTIFFS

 

Before the court is the Affidavit of Andrew C. Clarke,
Esquire, attorney for the plaintiffs, filed June 22, 2005, in
compliance with the court's order denying plaintiffs Demus and
Melba Rich's Motion to Exclude the Testimony of Danny Franks, David
Cagle, John Overton, and Joseph Peters, M.D., and awarding
attorney's fees and expenses to plaintiffs.

The affidavit sets forth fees and expenses incurred in
preparing and filing plaintiffs' motion to exclude as well as
plaintiffs' counsel's preparation for and appearance at the hearing
on plaintiffs' motion, for a total amount of $1,500. The court

finds the services rendered and the total attorney fees and

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expenses to be reasonable.

IT IS THEREFORE ORDERED, pursuant to Federal Rule of Civil
Procedure 37(a)(4)(A), that the defendants pay the plaintiffs the
total sum of $1,500.00, within thirty days from the date of this

order, for attorney fees and expenses.

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TU M. PHAM
United States Magistrate Judge

 

Date= TLAO U{,Q¢O.\’_

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 165 in
case 1:02-CV-01222 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

